In an action for divorce and alimony by a plaintiff who has entered into a ceremonial marriage with the defendant, where the evidence discloses that the defendant had been divorced by a former wife, still in life, and the jury had placed disabilities on his remarriage, which disabilities had never been removed, the plaintiff could not prevail. Although the plaintiff entered into the marriage in good faith, the defendant would not be estopped from asserting the invalidity of the marriage in bar of an action for divorce and alimony.
       No. 16781. OCTOBER 10, 1949. REHEARING DENIED NOVEMBER 18, 1949.
Mrs. Alma Deaton Bell brought an action in Fulton Superior Court for divorce and alimony against Van Tillman Bell. The action was based on alleged cruel treatment. The defendant filed an answer denying the allegations of the petition as to cruel treatment.
On the trial of the case, the plaintiff testified that she married the defendant in January, 1931. She introduced testimony with reference to his treatment of her during the years of their marriage.
The defendant offered the testimony of Lula Mae Young, who stated that she married the defendant on June 24, 1916, that the document exhibited to her, being Case No. 39171 in Fulton Superior Court, styled Mrs. Lula Mae Bell versus Van Tillman Bell, filed December 13, 1917, was an action in which the witness was plaintiff and the defendant in the present case was defendant. Van Tillman Bell, sworn in his own behalf, testified *Page 195 
that he was the person named as defendant in Case No. 39171, and that he had never filed an application in Fulton Superior Court, or any other court, for a removal of the disabilities that were imposed on him in the decree of the court dated September 10, 1919. On cross-examination, he stated that at the time he married the present plaintiff he did not know that his disabilities had not been removed, and he represented to her that he was a divorced man. He first learned of the contents of the former divorce case on the previous day. J. H. Bush, clerk of the court, testified that an application had never been filed by the defendant in Fulton Superior Court for the removal of his disabilities in Case No. 39171.
The plaintiff, recalled in her own behalf, testified as follows: "My husband and I took a trip, after we went through a ceremony of marriage, to Alabama; we went to Birmingham to visit some friends. While we were in Birmingham, Alabama, visiting his friends, he introduced me as his wife; he occupied the same bed with me and passed me off as his wife in Alabama. After that we returned to Fulton County and continued to live here as husband and wife for seventeen years."
On motion of the defendant's counsel, the trial court directed a verdict in favor of the defendant. Within thirty days the plaintiff filed a motion entitled, "Motion to modify and set aside directed verdict and judgment for respondent at January term, 1949, Fulton Superior Court, on the 19th day of January, 1949." On a hearing of the motion, the trial judge passed the following order: "The within and foregoing motion to modify and set aside coming on before me, and the court being of the opinion that it is a motion to modify rather than a motion for a new trial, as required by the case of Huguley v. Huguley
[204 Ga. 692], the same is hereby dismissed." The exception here is to this judgment of dismissal.
In Huguley v. Huguley, 204 Ga. 692 (2) (51 S.E.2d 445), it was held: "Under the act of 1946 (Ga. L. 1946, p. 90), it is only in cases where a divorce is granted that a petition to modify or set aside a verdict or judgment must be *Page 196 
filed within thirty days as a prerequisite to any review in the Supreme Court. Where a divorce is denied, a review by a motion for new trial, without such petition to modify or set aside, is an available procedure authorized by the Code, § 30-130." In theHuguley case (at page 697), it was pointed out that this ruling was contrary to a statement made in Gault v. Gault, 204 Ga. 205
(48 S.E.2d 819).
Counsel for the plaintiff in error (plaintiff in the court below) states that the written motion seeking to review the directed verdict and judgment was drafted prior to the decision of this court in the Huguley case, that it contains all the necessary elements of a motion for new trial, and that a brief of the evidence is attached thereto. An examination of the motion shows that, while it is denominated a motion to "modify and set aside," it contains the usual general grounds of a motion for new trial, with several other grounds, and prays that another jury trial be granted. Since the motion is, in substance, the equivalent of a motion for new trial, it will be considered on its merits.
The motion for new trial contains a ground complaining that the court erred in directing a verdict for the defendant, because the verdict was not demanded by the evidence, there was evidence that would have supported a verdict for the plaintiff, and there were issues of fact which should have been submitted to the jury for determination. In the present case, if it should be found that the order of the trial judge in directing a verdict was not erroneous, it could serve no good purpose to reverse his judgment because he dismissed the motion, instead of overruling it. We will therefore look to the evidence in the case to determine whether or not the verdict was demanded by the evidence, and whether there were issues of fact that should have been submitted to a jury.
The evidence was uncontradicted that the defendant had been previously married, that his former wife had procured a divorce from him, that the jury in that case had imposed disabilities on the defendant to prevent his remarriage, and that the defendant's disabilities had never been removed. There were no allegations in the answer of the defendant in the present case attacking the validity of the ceremonial marriage between the plaintiff and the defendant. The record does not disclose that *Page 197 
any objection was made to the introduction of this evidence, and since the defendant could have amended his answer to conform to the evidence, the plaintiff could not, and did not, complain of the variance between the pleadings and the proof in her motion for new trial. Taylor v. Taylor, 195 Ga. 711 (11) (25 S.E.2d 506).
In Baker v. Baker, 168 Ga. 478 (148 S.E. 151), it was held: "The plaintiff's right to recover, in a suit for land and other property, depending upon proof of her title as the wife and sole heir of a decedent between whom and the plaintiff a ceremonial marriage took place on December 25, 1925, but the plaintiff's evidence showing that in 1910 she married J. F. who is still in life, and that in 1916 he obtained a total divorce from her, the jury on second verdict finding that J. F. be allowed to remarry, but that the wife be not allowed to remarry, and she never having been relieved of her disability, she couldnot contract a valid marriage at the time of the ceremony first referred to, and did not thereby acquire the rights of a wife entitled to inherit the property of the decedent." (Italics ours.)
The plaintiff insists that the ruling in the Baker case is not applicable to the present case because the plaintiff in theBaker case was the wrongdoer who undertook to profit by her own unlawful act, whereas in the present case the plaintiff did not know that the defendant could not legally contract marriage with her. It is also insisted that only such persons as may have been blameless, and were injured or prejudiced by the defendant's failure to secure the removal of his disabilities to remarry, should be heard to complain of such failure, and that the defendant would be estopped from challenging the validity of the marriage.
In Pennaman v. Pennaman, 153 Ga. 648 (112 S.E. 829), it was held: "Although the applicant [for alimony] and the alleged husband lived together some twenty-five or thirty years after the marriage ceremony between them was performed, inasmuch as the disqualification to marry was not removed, the husband was not estopped from setting up the invalidity of his marriage to the plaintiff in the suit for alimony." In the Pennaman case, it appears that both the husband and the wife were disqualified to contract marriage. The Pennaman decision was *Page 198 
followed by this court in Christopher v. Christopher,198 Ga. 361, 380 (31 S.E.2d 818), in which it was held that the reputed husband was not estopped to set up the invalidity of his marriage to the applicant for alimony, although he had induced her to procure a fraudulent and void divorce from her former husband. The Pennaman case was also followed in Reed v.Reed, 202 Ga. 508, 515 (43 S.E.2d 539).
Under the foregoing rulings of this court, it must be held that the ceremonial marriage between the parties in this case was invalid, since the defendant was under a disability to contract marriage, and the defendant was not estopped from attacking the validity of the marriage, although the plaintiff had entered into the marriage in good faith, and they had lived together as husband and wife for seventeen years. The marital status of citizens is a matter of public interest and concern. The rules of estoppel between parties can not be invoked to determine the validity of a marriage.
The plaintiff contends that, even if the ceremonial marriage between the parties was invalid, a common-law marriage was consummated between the parties at the time when they were in Alabama, since his disability to remarry was without effect outside the territorial limits of Georgia, and a common-law marriage is permitted under the laws of Alabama and Georgia. The evidence shows that the parties were residents of Georgia before they went to Alabama, that they merely visited in Alabama, that they returned to Georgia, and have been residents of Georgia until the time of the trial. Clearly their marital status must be determined under the laws of Georgia, and not the laws of Alabama.
Under the applicable laws of this State, there was no valid marriage between the parties, and the plaintiff was not entitled to a decree for divorce and alimony. The plaintiff fails to show injury by a judgment dismissing her motion for new trial. A judgment overruling the motion for new trial would have placed her in no better position, since the verdict directed was demanded as a matter of law.
Judgment affirmed. All the Justices concur, except Atkinson,P. J., who dissents.